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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 JAMIL GEORGE,
                                                     Case No. 24-cv-4253
              Plaintiff,

    v.

 POLICE OFFICER TIMOTHY MCGINN,
 PHILADELPHIA POLICE OFFICER
 TIMOTHY CLIGETT, PHILADELPHIA
 POLICE OFFICER KEVIN CONWAY, SR.,
 and PHILADELPHIA POLICE
 OFFICER(S) JOHN DOE(S), et al.

              Defendants.


                                             ORDER
         AND NOW, this 18th day of December, 2024, upon consideration of the Motion to

Substitute the United States of America and Dismiss All Claims Against the United States (ECF

No. 2), Plaintiff’s Opposition (ECF No. 5), and for the reasons stated in the accompanying

Memorandum, it is ORDERED that the motion is GRANTED, and:

         1)       The United States of America is SUBSTITUTED for defendant Timothy

Cliggett, and the Clerk of Court is directed to amend the caption accordingly; and

         2)       Plaintiff’s claims against the United States of America are DISMISSED

WITHOUT PREJUDICE for lack of jurisdiction based on Plaintiff’s failure to exhaust his

administrative remedies.

         It is FURTHER ORDERED that:

         1)       The remaining claims against defendants Timothy McGinn and Kevin Conway,

Sr. are REMANDED to the Philadelphia Court of Common Pleas; and
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2)   The Clerk of Court is directed to CLOSE this case.



                                          BY THE COURT:




                                         MARY KAY COSTELLO, J.
